5/10/2018                                 U.S.05/10/18
            Case 16-33174-hdh7 Doc 386 Filed   Bankruptcy Court - Northern 05/10/18
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                                          U.S. Bankruptcy Court

                                                         Northern District of Texas

Notice of Electronic Claims Filing

The following transaction was received from Rishe, Mitchell on 5/10/2018 at 2:18 PM CDT

File another claim
Case Name:                                     Rincon Island Limited Partnership
Case Number:                                   16-33174-hdh7
                                               California State Lands Commission
                                               Joseph Fabel, State Lands Commission
Creditor Name:
                                               100 Howe Ave., Suite 100-S
                                               Sacramento, CA 95825
Claim Number:                                  25 Claims Register
Amount Claimed: $78,876,162.12
Amount Secured:
Amount Priority:

   File another claim

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:SLC Proof of Claim-FINAL.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1017686615 [Date=5/10/2018] [FileNumber=42162708-
0] [268fbde4810cb01c393bc69934949a03d6577857314dd188d1f3c61ceb6764a8f0
280ddc82451a41220afc4205b5fc115e59b1cd2c15c81a6a54be2fd486a46b]]

16-33174-hdh7 Notice will be electronically mailed to:

Olivia Arden Adendorff on behalf of Creditor UBS AG
oadendorff@gibsondunn.com, tflowers@gibsondunn.com

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Brian L. Holman on behalf of Creditor Coast Ranch Family LLC
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https://ecf.txnb.uscourts.gov/cgi-bin/FilingClaims.pl?559297512450734-L_1_3-1                                      1/4
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Alec P. Ostrow on behalf of Creditor GLR, LLC
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David A. Zdunkewicz on behalf of Plaintiff Hunton Andrews Kurth LLP
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https://ecf.txnb.uscourts.gov/cgi-bin/FilingClaims.pl?559297512450734-L_1_3-1                                      2/4
5/10/2018                                 U.S.05/10/18
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16-33174-hdh7 Notice will not be electronically mailed to:

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Mark B. Frazier on behalf of Creditor WEST ENERGY OFFSHORE LTD AND PUNTA GORDA RESOURCES,
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Richard S. Schmidt
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